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Attorney for Defendant, RUSSELL TAYLOR


                        UNITED STATES DISTRICT COURT

                              DISTRICT OF COLUMBIA



 THE UNITED STATES OF                        Case No. 1:21-CR-00392
 AMERICA,
                                             REQUEST TO MODIFY TERMS AND
                Plaintiff,                   CONDITONS OF BAIL
        vs.                                  JUDGE: ROYCE C. LAMBERTH
 RUSSELL TAYLOR,
                Defendants.




                   MOTION TO MODIFY BOND CONDITIONS

   The defendant, RUSSELL TAYLOR, by and through his undersigned counsel
does hereby request the Court make the following modifications of bond in the above
styled cause:

   1. The removal of the Location Monitoring/Ankle Monitor as previously ordered
      by this Court on August 12, 2021.
   2. All other “Conditions of Release” to remain.


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   On or about June 10, 2021 Mr. Taylor voluntarily surrender himself to the F.B.I.
upon notification of the filing of an Indictment. Subsequently, the Magistrate Court
released Mr. Taylor on an ankle monitor. On August 11, 2021 this Court upheld the
Magistrates order and continue the term and condition of Location Monitoring on Mr.
Taylor in the form of an Ankle Monitoring System. Since June of 2021 Mr. Taylor
has been on a constant Location Monitoring by Pre Trial Services. He has had no
violations and has been in compliance with all terms and conditions of his release
terms. Mr. Taylor has not exhibited any concerns or activities, that were relevant to
this case, between January 6, 2021 and the date of this request.

   On May 27, 2021Mr. Taylor was advised by his Doctor (David Petersen DPM)
that the Ankle Monitor had caused him to suffer from excessive leg swelling and
painful liaisons which have gradually increased. These liaisons and swelling have
grown in size and concern over the last few months and Doctor Petersen has
recommended that the monitor be removed in order to allow his medical issues to
heal. The report of Dr. Petersen is attached as Exhibit 1.

   Counsel for Mr. Taylor contacted the Government (June 9, 2022) and Pre-Trial
Services (June 17, 2022) and was informed that both parties would defer to the Court.

   Given Mr. Taylor compliance and good behavior both before the monitor and
since the monitor was placed upon him and his ongoing medical issues, we request
that the Court grant his request for the removal of said monitor with all other
conditions to remain in effect.

   The parties are available for oral argument should the Court need additional
information concerning this joint request.




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Dated: June 17, 2022               LAW OFFICE OF DYKE E. HUISH


                                         Dyke E. Huish
                                         Attorney for Russell Taylor




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